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 8 Attorneys for Federal Defendants

 9                                    UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11                                        SAN FRANCISCO DIVISION

12
     EASTON STOKES,                                   ) CASE NO. 19-CV-04613 WHA
13                                                    )
             Plaintiff,                               ) FEDERAL DEFENDANTS’ RESPONSE TO
14                                                    ) ORDER TO SHOW CAUSE
        v.                                            )
15                                                    )
     UNITED STATES DEPARTMENT OF                      )
16   JUSTICE, et al.,                                 )
                                                      )
17           Defendants.                              )
                                                      )
18                                                    )

19           In response to the Court’s Order to Show Cause Why Stay of Relief Should Not Be Lifted (Dkt.
20 No. 117), Federal Defendants state that they do not object to the stay of relief being lifted.

21 Dated: October 6, 2021                                 Respectfully submitted,
22                                                        STEPHANIE M. HINDS
                                                          Acting United States Attorney
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24                                                               /s/ Neill T. Tseng
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     FEDERAL DEFENDANTS’ RESPONSE TO ORDER TO SHOW CAUSE
     19-CV-04613 WHA                        1
